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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 IN RE:                                         §
                                                §     CASE NO. 19-32039-sgj7
 DARREN SCOTT MATLOFF,                          §
                                                §     Chapter 7
          Debtor.                               §
                                                §
                                                §
 DARREN SCOTT MATLOFF,                          §
                                                §
          Plaintiff                             §
 v.                                             §     Adversary No.
                                                §
 TRIUMPHANT GOLD LIMITED,                       §
                                                §
          Defendant                             §
                                                §



                        COMPLAINT FOR VIOLATIONS OF 11 U.S.C. § 362



TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE

        COMES NOW Darren Scott Matloff (“Plaintiff”), Plaintiff in the above-captioned case,

and files this Plaintiff’s Original Complaint (“Complaint”) against Triumphant Gold Limited

(“TGL” or “Defendant”), Defendant in the above-captioned adversary, and would respectfully

show unto the Court as follows:




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                                      I.       JURISDICTION AND VENUE

         1.       The claims in this Complaint arise under Title 11, specifically, 11 U.S.C. § 362.

Accordingly, this Court has jurisdiction pursuant to 28 U.S.C. § 1334 and 28 U.S.C. § 157(a) and

(b). This is a “core” proceeding under 28 U.S.C. § 157(b)(2).

         2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a).

                                                    II.      PARTIES

         3.       Plaintiff Darren Matloff (“Plaintiff”) is the Debtor in the above-captioned

bankruptcy proceeding.1

         4.       Defendant Triumphant Gold Limited (“TGL”)2 is an entity incorporated in the

Cayman Islands. Defendant may be served with summons in the Cayman Islands, by any

internationally agreed means of service that is reasonably calculated to give notice, such as those

authorized by the Hague Convention on the Service Abroad of Judicial and Extrajudicial

Documents.

         5.       Defendant is a Creditor of the Plaintiff. Defendant has appeared in the underlying

bankruptcy proceeding through its counsel of record, Hedrick Kring, PLLC.

         6.       Plaintiff’s automatic stay claim is a core proceeding under 28 U.S.C. § 157(b)(2) (see

In Re Southmark Corp., 163 F.3d 925, 930 (5th Cir. 1999)) and Plaintiff consents to entry of final

orders and judgments by the Bankruptcy Court in this adversary proceeding.




1
  For ease of reference, documents filed in the Plaintiff’s bankruptcy proceeding will be identified as “Bk. Doc. No. __”.
Documents filed in the Rooftop Group International Case will be identified as “Rooftop Bk. Doc. No. __”.
2 According to their pleadings in the Rooftop case, TGL “is a special purpose vehicle of Aktis Capital Master Fund

Limited, which engages in direct/structured investment activities in developing and emerging economies in Asia.” See
Rooftop Bk. Doc. No. 26, p. 5, ¶11.


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                       III.     FACTUAL AND PROCEDURAL BACKGROUND

        7.       Plaintiff is the chief executive officer of Rooftop International Pte, (“Rooftop”), a

Singapore company is a Singapore company that has traditionally been in the business of the

manufacture and sale of consumer quadcopters, or drones.

        8.       Prior to the Petition Date, in 2016, Rooftop and TGL entered into a series of

agreements pursuant to which TGL loaned money, on a secured basis, to Rooftop in order to,

among other things, provide working capital to Rooftop, and finance the manufacture of

recreational drones in China. Rooftop’s obligation to TGL was secured by, among other things,

certain guarantees (including by Plaintiff personally).

        9.       Rooftop’s business struggled, and as a result, Rooftop defaulted on its obligations

to TGL. Rooftop filed a voluntary petition for Chapter 11 bankruptcy on April 30, 2019 in the

Northern District of Texas, Dallas Division. That case, In re Rooftop Group International Pte. Ltd.,

Cause No 19-43402, is currently pending before the Hon. Mark Mullin (the “Rooftop Case”).

        10.      TGL took legal action in Singapore against Plaintiff to enforce TGL’s rights with

respect to Plaintiff’s personal guarantee. The pre-petition lawsuits are (1) HC/S 450/2018 (the

“S450”) – a suit on Mr. Matloff’s personal guarantee [where summary judgment was entered

against Mr. Matloff on 12/05/2018]; (2) HC/SUM 1653/2019 - an ex parte application for leave

to apply for an order of committal filed on April 1, 2019; and, (3) HC/SUM 2362/2019 – a

committal proceeding filed on April 29, 2019 (the “Singapore Proceeding”). A timeline of the

actions in Singapore is attached hereto as Exhibit A.

        11.      According to TGL’s own pleadings, the High Court for the Republic of Singapore

has “afforded TGL the right to institute committal proceedings…against Mr. Matloff for failure

to (i) pay the judgment entered against Mr. Matloff on his personal guarantee in the S450 action




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and (ii) participate in post-judgment discovery.”3 On April 29, 2019, the High Court for the

Republic of Singapore issued a summons to the Plaintiff. A true and correct copy of that summons

is attached hereto as Exhibit B.

        12.      TGL also instituted an action in the District Court for the Southern District of Texas

in order to domesticate the Singapore judgment against Mr. Matloff, Case No. 4:18-cv-04770. That

case is now stayed by the automatic stay.

        13.      Plaintiff filed a voluntary petition under Title 11, Chapter 7 of the United States

Bankruptcy Code on June 18, 2019.

        14.      TGL has used both the Rooftop case and the Plaintiff’s bankruptcy case as a means

with which to harass and embarrass the Plaintiff, making allegations that have no basis in fact,

driving up legal fees for Plaintiff.

        15.      More egregiously, TGL has continued to pursue enforcement of its judgment

against Plaintiff in the Singapore Proceeding post-petition, despite receiving notice of the

bankruptcy filing, and sending counsel to the §341 meeting of creditors.4 TGL is not just seeking

enforcement of the judgment, but it seeks to hold Plaintiff in contempt and punish Plaintiff via

an “order for committal” which can include incarceration.

        16.      On July 25, 2019, over a month after the stay was imposed by operation of law,

TGL submitted its Written Submissions requesting a “custodial sentence” in excess of seven days:

        TGL therefore submits that a custodial sentence must be imposed in the present
        case and a sentence of more than seven days imprisonment is warranted given the
        exceptionally aggravating circumstances.5




3 See Rooftop Bk. Doc. No. 26, p. 7, ¶17.
4 See Exhibit C, an excerpt from the First Meeting of Creditors in the Plaintiff’s bankruptcy case.
5 See Exhibit D, a true and correct copy of excerpts from TGL’s Written Submissions submitted to the High Court of

the Republic of Singapore.


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        17.      The next day, July 26, 2019, TGL’s counsel in the Singapore Proceeding claimed

that Plaintiff “hid his assets until the time he filed for bankruptcy in June 2019” and the

“appropriate sentence should be more than 7 days’ (sic) imprisonment.”6

        18.      Counsel for TGL has entered a notice of appearance in the Plaintiff’s bankruptcy

case.7 Counsel for TGL requested and received an extension of time to object to the Plaintiff’s

discharge and exemptions. Counsel for TGL has also filed an application to be employed as

special counsel for the Trustee.8

        19.      Plaintiff has incurred significant damages in the form of attorneys’ fees to defend

himself against TGL’s continued pursuit of him in the Singapore Proceeding.

        20.      TGL has also attempted what one might consider a back end run around the

automatic stay via commencement of proceedings in Dallas County, Cause No. DC-19-12093,

against two other Rooftop entities, Rooftop Group USA, Inc. (of which the Plaintiff is the sole

shareholder), and Rooftop Group Services (US), Inc., wherein TGL obtained a temporary

restraining order against Rooftop Group USA and Rooftop Group Services. TGL further sought

discovery from these entities about the Plaintiff’s financial condition, in spite of the fact that many

if not all the documents requested had been provided to TGL and the Plaintiff’s Chapter 7

Trustee.9

        21.      The actions of TGL have resulted in a substantial amount of anxiety, mental

anguish and distress on the part of Plaintiff, which is far more than fleeting and inconsequential,

and which is substantiated by the facts of this case alone, but is also manifested in the following

ways, including but not limited to:




6
  See Exhibit E, a true and correct copy of the transcript from the hearing on TGL’s Application.
7 See Bk. Doc No. 14.
8 See Bk. Doc No. 34.
9 See Exhibit F, a true and correct copy of a relevant portions of a subpoena served upon Edward Schafman requesting

information about the Plaintiff.


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        (a)      Violation of core bankruptcy rights and Constitutional rights.

        (b)      Attorneys’ fees and costs incurred in Singapore, estimated at $10,000.00 USD.

        (c)      Travel expenses associated with defending himself in Singapore.

        (d)      Harassment.

        (e)      Stress.

        (f)      Fear, dread and anxiety regarding possible incarceration in Singapore.

        (g)      Lost time for work due to the near constant harassment and threat of incarceration

                 for not responding in the Singapore Proceeding.

        (h)      Lost employment opportunities as individuals and companies learn of TGL’s

                 allegations.

        (i)      Embarrassment and discomfort in excess of what is normal for a debtor in

                 bankruptcy, due to TGL’s harassment.



                                         IV.    CAUSES OF ACTION
                             COUNT 1: VIOLATION OF 11 U.S.C. 362(A)

        22.      The facts and allegations contained above are reasserted as if fully set forth herein.

        23.      The automatic stay is a court order and an injunction. Therefore, the automatic

stay is enforceable pursuant to 11 U.S.C. § 105.

        24.      The automatic stay applies extraterritorially. United States Lines, Inc. v. GAC Marine

Fuels Ltd. (In re McLean Industries, Inc.), 68 B.R. 690, 694, 15 B.C.D. 703 (Bankr. S.D.N.Y. 1986).

Section 362(a) of the Bankruptcy Code bars, inter alia, all acts by creditors to collect pre-petition

debts, acts to obtain possession of or control over property of the estate, and acts to create, enforce

or perfect a lien on property of the estate. 11 U.S.C. § 362(a) (1), (3), (4) (emphasis added). The

proceedings in Singapore come within the scope of § 362(a). GAC Marine Fuels Ltd., 68 B.R. at 694.

        25.      As it pertains to this cause of action:



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              a. In 11 U.S.C. § 362(k)(1) Congress gave Plaintiff the right to sue for violations of the

                 automatic stay.

              b. 11 U.S.C. § 101(12) defines “debt” as a liability on a claim, and “claim” is defined

                 by §101(5). Plaintiff owes Defendant a debt arising out of a personal guarantee on

                 a corporate obligation.

              c. 11 U.S.C. § 102(2) defines “claim against the debtor”. Defendant has a claim against

                 the Debtor within the meaning of 11 U.S.C. § 102(2).

              d. 11 U.S.C. § 101(10) defines the term “creditor”. Defendant is a creditor within the

                 meaning of 11 U.S.C. § 101(10).

        26.      The 5th Circuit has consistently stated the three requirements to establish liability

under § 362(k)1). In re Chesnut, 422 F.3d 298, 302 (5th Cir. 2005); Campbell v. Countrywide, 545 F.3d

348, 355 (5th Cir. 2008); and, In re Repine, 536 F.3d 512, 519 (5th Cir. 2008):

              a. The existence of the automatic stay was known by the Defendant in that Defendant

                 was made aware of the existence of this bankruptcy;

              b. The acts described on the part of Defendant were intentional, meaning what is

                 relevant is not the intent to violate the automatic stay, but rather the intent to

                 commit the act that violated the automatic stay; and,

              c. The acts of Defendant violated 11 U.S.C. § 362(a) (1), (2), and (6) for which no

                 exception exists under 11 U.S.C. § 362(b).

        27.      Defendant was and is aware of the bankruptcy case. Defendant’s actions were

intentional. No good faith exceptions exist for the violations. No present inability to comply with

the automatic stay exists on the part of Defendant.

        28.      Defendant’s violation of 11 U.S.C. § 362(a)(1),(2),(6) as alleged above was “willful”

as that term is defined in the Fifth Circuit because its conduct was intentional, it had prior actual




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knowledge of the automatic stay from multiple sources, its conduct was unreasonable, and any

alleged mistake of law was not a defense. Willfulness within the context of an alleged stay

violation is almost universally defined to mean intentional acts committed with knowledge of the

bankruptcy petition." In re San Angelo Pro Hockey Club, Inc., 292 B.R. 118, 124 (Bankr. N.D. Tex.

2003)

        29.      Under 11 U.S.C. § 362(k), Plaintiff is entitled to compensation for actual damages,

proportional punitive damages, and reasonable fees and costs from Defendant in amounts to be

decided by the Court.

                               COUNT 2: DECLARATORY JUDGMENT

        30.      The facts and allegations contained above are reasserted as if fully set forth herein.

        31.      Pursuant to the Texas and/or Federal Declaratory Judgment Act, Plaintiff requests

the Court issue a declaratory judgment that the Defendant’s conduct stands in violation of the

Bankruptcy Code’s automatic stay.

                 V.       ENFORCING INJUNCIONS OR ORDERS OF THIS COURT

        32.      The facts and allegations contained above are reasserted as if fully set forth herein.

        33.      Due to Defendant’s actions as described, it is now necessary for Plaintiff to seek

this extraordinary relief from this Court to enforce the injunctions, orders, and Code and Rule

provisions resulting from his bankruptcy. Therefore, Plaintiff requests this Court to:

                 (a) Find Defendant in contempt for failing to abide by the orders, injunctions,
                     Bankruptcy Code or Rules pursuant to 11 U.S.C. §105;

                 (b) Issue any declaratory judgment to determine the threshold questions of law,
                     facts, rights, claims, or debts of all parties to this adversary proceeding, the
                     violation(s) of Defendant, the jurisdiction of this Court and/or any actual
                     controversy that may exist; and/or

                 (c) Issue any further or more specific injunctions to better define or curtail the acts
                     or conduct of Defendant in the future pursuant to 11 U.S.C. §105.




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                                                VI.   DAMAGES

        34.      The facts and allegations contained above are reasserted as if fully set forth herein.

        35.      The fresh start promised to Plaintiff would hardly be made whole simply by an

order that repeats the law, rules and injunctions with which Defendant already has not complied.

This makes damages necessary.

        36.      Each cause of action above allows or requires the award of damages.

                                                Actual Damages

        37.      Plaintiff seeks an award of actual damages to cover the value of any loss, any out-

of-pocket expenses or cost incurred, including attorneys’ fees incurred in the Singapore

Proceeding, the value of the personal time of Plaintiff in having to deal with the conduct and

actions of Defendant, and in having to participate in this adversary proceeding.

                                         Attorneys’ Fees and Costs

        38.      The facts as described in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        39.      It was necessary to employ undersigned counsel to represent Plaintiff in advising,

preparing and participating in this adversary proceeding. Plaintiff requests this Court to award

undersigned counsel all attorneys’ fees, costs and expenses due and owing, and which will

become due and owing expended as a result of this representation.

        40.      Plaintiff is entitled to a recovery of his attorneys’ fees and costs for any willful

violation of the automatic stay pursuant to 11 U.S.C. §362(k).

        41.      Pursuant to Section 37.009 of the Texas Civil Practice and Remedies Code and/or

28 U.S.C. §2202, Plaintiff is entitled to and respectfully seeks the recovery of his reasonable

attorneys’ fees and costs in bringing his action for declaratory relief.




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        42.      The Court is further empowered under 11 U.S.C. §105 to impose sanctions in the

form of attorneys’ fees and/or punitive damages for violation of the automatic stay.

                               Pre-judgment and post-judgment interest

        43.      Plaintiff seeks an award of prejudgment and post-judgment interest.

                                                Punitive Damages

        44.      Plaintiff seeks an award of punitive damages against Defendant pursuant to 11

U.S.C. §362(k) and §105.

                                         VII.     PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Darren Scott Matloff respectfully requests that

the Court issue summons on Defendant, and after a stipulation or determination that defendant

willfully violated the automatic stay, enter judgment for Plaintiff as follows:

              1) Granting declaratory relief as requested herein;

              2) Awarding damages to Plaintiff resulting from Defendant’s conduct in unlawfully

              3) retaining property of the estate in violation of the automatic stay and the

                 Bankruptcy Code;

              4) Awarding Plaintiff attorneys’ fees and costs incurred in pursuing this adversary

                 proceeding;

              5) Awarding Plaintiff punitive damages; and

              6) Granting Plaintiff such other and further relief to which the Plaintiff may be

                 entitled.


Dated: September 11, 2019

                                                           Respectfully submitted,

                                                            /s/ Sarah M. Cox
                                                           Sarah M. Cox
                                                           California State Bar No. 245475



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